          Case 22-60043 Document 281 Filed in TXSB on 11/17/22 Page 1 of 3



                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re:                                            §
                                                   §
 FREE SPEECH SYSTEMS, LLC,                         §                          Case No. 22-60043
                                                   §
                        Debtor.                    §                Chapter 11 (Subchapter V)



                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE


          PLEASE TAKE NOTICE that, BRADLEY J. REEVES, appears on behalf of Reeves Law,

PLLC, a creditor and interested party, in the above Bankruptcy and pursuant to Rules 2002, 3017,

and 9010, requests that all notices be given, or required to be given in this case, and all papers

served, or required to be served in this case, be given to and served upon the underigned at the

office, address, and telephone number set forth below:

                                       Bradley J. Reeves
                                    State Bar No. 24068266
                                      REEVES LAW, PLLC
                                  702 Rio Grande St., Suite 203
                                      Austin, Texas 78701
                                   Telephone: (512) 827-2246
                                   Facsimile: (512) 318-2484
                                     Email: brad@brtx.law

          PLEASE TAKE FURTHER NOTICE that, pursuant to Bankruptcy Rule 2002 and 9007,

and all applicable local rules of the Bankruptcy Court, the foregoing request includes, without

limitation, all notices of order, applications, complaints, demands, objections, hearings, motions,

petitions, orders, pleadings, or requests, and any other documents brought before the Bankruptcy

Court in this case, whether formal or informal, written or oral, and whether transmitted or conveyed

by mail, electronic delivery, telephone, facsimile, or otherwise.
       Case 22-60043 Document 281 Filed in TXSB on 11/17/22 Page 2 of 3



Dated: November 17, 2022.

                              Respectfully submitted,

                              REEVES LAW, PLLC

                              By: /s/ Bradley J. Reeves________
                              Bradley J. Reeves
                              State Bar No. 24068266
                              brad@brtx.law
                              702 Rio Grande St., Suite 306
                              Austin, TX 78701
                              Telephone:     (512) 827-2246
                              Facsimile:     (512) 318-2484

                              Attorney for Creditor and Interested Party,
                              Reeves Law, PLLC




                                                                            PAGE 2
        Case 22-60043 Document 281 Filed in TXSB on 11/17/22 Page 3 of 3



                                CERTIFICATE OF SERVICE

        The undersigned counsel certifies that notice of the filing of this document has been served
on the parties through the Court’s CM/ECF system on November 17, 2022.


                                               /s/ Bradley J. Reeves________
                                              Bradley J. Reeves




                                                                                                       PAGE 3
